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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

ANNA SIMMONS,

              Plaintiff,
                                                   CASE NO.: 3:18-cv-00609-TJC-JBT
                     v.

AMSHER COLLECTION SERVICES, INC.,

              Defendant.
                                             /

   JOINT STIPULATION FOR FINAL ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff, Anna Simmons, and Defendant, AmSher Collection Services, Inc., do

hereby stipulate to the dismissal with prejudice of the Defendant. Each party is to bear

their own fees and costs.

Date: February 12, 2019


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